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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 WILLIAM BARNHOUSE,                         )
                                            )
                           Plaintiff,       )
                                            )
                      v.                    )     No. 1:19-cv-00958-TWP-DLP
                                            )
 CITY OF MUNCIE,                            )
 FONDA KING,                                )
 STEVE STEWART,                             )
 GORDON WATTERS,                            )
 TODD,                                      )
 STEVE BLEVINS,                             )
 DONALD BAILEY,                             )
 TERRY WINTERS,                             )
 CARL SOBIERALSKI,                          )
 AS-YET UNIDENTIFIED MUNCIE                 )
 POLICE OFFICERS,                           )
 AS- YET UNIDENTIFIED EMPLOYEES             )
 OF THE INDIANA STATE POLICE                )
 CRIME LAB,                                 )
                                            )
                           Defendants.      )

                 ORDER ON PLAINTIFF’S UNOPPOSED MOTION FOR
                     LEAVE TO FILE AMENDED COMPLAINT

       This matter comes before the Court on Plaintiff’s Unopposed Motion for

 Leave to File Amended Complaint (Dkt. 71). The Court, having fully reviewed the

 matter, now GRANTS said motion. The Plaintiff is ordered to file the Amended

 Complaint within 3 days.

       So ORDERED.

        Date: 7/29/2019
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 Distribution:

 All ECF-registered counsel of record via email
